JS 44 (Rev. 10/20)                                 CIVIL
                              Case: 1:21-cv-01248-PAB Doc COVER     SHEET
                                                          #: 1-1 Filed: 06/25/21 1 of 3. PageID #: 20
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)
I. (a) PLAINTIFFS                                                                                           DEFENDANTS
          Timothy J. Richissin and Heidi C. Richissin                                                        Rushmore Loan Management Services, LLC and U.S.
                                                                                                             Bank National Assocation as Trustee, etc.
    (b) County of Residence of First Listed Plaintiff                Medina County                          County of Residence of First Listed Defendant
                                  (EXCEPT IN U.S. PLAINTIFF CASES)                                                                 (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                            NOTE:      IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                       THE TRACT OF LAND INVOLVED.

    (c) Attorneys (Firm Name, Address, and Telephone Number)                                                 Attorneys (If Known)
        Marc E. Dann, DannLaw, 2728 Euclid Ave., Ste. 300,
        Cleveland, OH (216) 373-0539
II. BASIS OF JURISDICTION (Place an “X” in One Box Only)                                     III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                         (For Diversity Cases Only)                                    and One Box for Defendant)
    1   U.S. Government                    3   Federal Question                                                                   PTF         DEF                                        PTF      DEF
□                                     □
                                       ✖

          Plaintiff                              (U.S. Government Not a Party)                     Citizen of This State            1           1     Incorporated or Principal Place         4     4
                                                                                                                                     □       □          of Business In This State         □       □

□ 2 U.S.Defendant
         Government
                                      □ 4 Diversity
                                            (Indicate Citizenship of Parties in Item III)
                                                                                                   Citizen of Another State
                                                                                                                                     □ 2 □ 2 Incorporated and Principal Place
                                                                                                                                               of Business In Another State               □ 5 □5
                                                                                                   Citizen or Subject of a
                                                                                                     Foreign Country                 □ 3 □ 3 Foreign Nation                               □ 6 □6
IV. NATURE OF SUIT (Place an “X” in One Box Only)                                                                                        Click here for: Nature of Suit Code Descriptions.
           CONTRACT                                                  TORTS                           FORFEITURE/PENALTY                        BANKRUPTCY                     OTHER STATUTES
    110 Insurance                       PERSONAL INJURY                   PERSONAL INJURY             625 Drug Related Seizure               422 Appeal 28 USC 158          375 False Claims Act
    120 Marine                          310 Airplane                     365 Personal Injury -            of Property 21 USC 881             423 Withdrawal                 376 Qui Tam (31 USC
    130 Miller Act                      315 Airplane Product           □     Product Liability        690 Other                                  28 USC 157                     3729(a))
    140 Negotiable Instrument                Liability                   367 Health Care/                                                                                   400 State Reapportionment
    150 Recovery of Overpayment         320 Assault, Libel &
                                                                       □     Pharmaceutical                                                 PROPERTY RIGHTS                 410 Antitrust
        & Enforcement of Judgment            Slander                         Personal Injury                                                 820 Copyrights                 430 Banks and Banking
    151 Medicare Act                    330 Federal Employers’               Product Liability                                               830 Patent                     450 Commerce
    152 Recovery of Defaulted                Liability                   368 Asbestos Personal                                               835 Patent - Abbreviated       460 Deportation
         Student Loans                  340 Marine                     □     Injury Product                                                      New Drug Application       470 Racketeer Influenced and
         (Excludes Veterans)            345 Marine Product                   Liability                                                       840 Trademark                      Corrupt Organizations
    153 Recovery of Overpayment              Liability                  PERSONAL PROPERTY                      LABOR                         880 Defend Trade Secrets       480 Consumer Credit
□       of Veteran’s Benefits           350 Motor Vehicle                370 Other Fraud              710 Fair Labor Standards                   Act of 2016                    (15 USC 1681 or 1692)
□   160 Stockholders’ Suits
    190 Other Contract
                                        355 Motor Vehicle
                                            Product Liability
                                                                       B 371 Truth in Lending
                                                                         380 Other Personal
                                                                                                          Act
                                                                                                      720 Labor/Management                   SOCIAL SECURITY
                                                                                                                                                                            485 Telephone Consumer
                                                                                                                                                                                Protection Act
□   195 Contract Product Liability      360 Other Personal
                                                                       □     Property Damage              Relations                          861 HIA (1395ff)               490 Cable/Sat TV
B   196 Franchise                           Injury
                                        362 Personal Injury -          □ 385 Property Damage
                                                                             Product Liability
                                                                                                      740 Railway Labor Act
                                                                                                      751 Family and Medical
                                                                                                                                             862 Black Lung (923)
                                                                                                                                             863 DIWC/DIWW (405(g))
                                                                                                                                                                            850 Securities/Commodities/
                                                                                                                                                                                Exchange
                                            Medical Malpractice                                           Leave Act                          864 SSID Title XVI         ✖   890 Other Statutory Actions
        REAL PROPERTY                     CIVIL RIGHTS                  PRISONER PETITIONS            790 Other Labor Litigation             865 RSI (405(g))               891 Agricultural Acts
    210 Land Condemnation               440 Other Civil Rights           Habeas Corpus:               791 Employee Retirement                                               893 Environmental Matters
    220 Foreclosure                     441 Voting                       463 Alien Detainee               Income Security Act               FEDERAL TAX SUITS               895 Freedom of Information
    230 Rent Lease & Ejectment          442 Employment                   510 Motions to Vacate                                              870 Taxes (U.S. Plaintiff           Act
    240 Torts to Land                   443 Housing/                         Sentence                                                            or Defendant)              896 Arbitration
    245 Tort Product Liability              Accommodations               530 General                                                        871 IRS—Third Party             899 Administrative Procedure
    290 All Other Real Property         445 Amer. w/Disabilities -       535 Death Penalty                IMMIGRATION                            26 USC 7609                    Act/Review or Appeal of
                                            Employment                   Other:                       462 Naturalization Application                                            Agency Decision
                                        446 Amer. w/Disabilities -       540 Mandamus & Other         465 Other Immigration                                                 950 Constitutionality of
                                            Other                        550 Civil Rights                 Actions                                                               State Statutes
                                        448 Education                    555 Prison Condition
                                                                         560 Civil Detainee -
                                                                             Conditions of
                                                                             Confinement
V. ORIGIN (Place an “X” in One Box Only)
    1 Original                2 Removed from                    3     Remanded from              4 Reinstated or             5 Transferred from       6 Multidistrict                 8 Multidistrict
□                         □                                □                                 □                       □                               □                            □
✖
      Proceeding                State Court                           Appellate Court              Reopened                    Another District           Litigation -                  Litigation -
                                                                                                                               (specify)                  Transfer                      Direct File
                                           Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                           12 U.S.C. 2605
VI. CAUSE OF ACTION Brief description of cause:
                                           Failure to correct mortgage loan servicing errors and breach of settlement agreement
VII. REQUESTED IN                               CHECK IF THIS IS A CLASS ACTION                       DEMAND $                                    CHECK YES only if demanded in complaint:
     COMPLAINT:                                 UNDER RULE 23, F.R.Cv.P.                                                                          JURY DEMAND:
                                                                                                                                                                             □ Yes
                                                                                                                                                                              ✖
                                                                                                                                                                                          □ No
VIII. RELATED CASE(S)
                                               (See instructions):
      IF ANY                                                           JUDGE                                                                 DOCKET NUMBER
DATE                                                                       SIGNATURE OF ATTORNEY OF RECORD
6/25/2021                                                                    /s/ Marc E. Dann
FOR OFFICE USE ONLY

    RECEIPT #                     AMOUNT                                      APPLYING IFP                                   JUDGE                            MAG. JUDGE
                  Case: 1:21-cv-01248-PAB Doc #: 1-1 Filed: 06/25/21 2 of 3. PageID #: 21
                                            UNITED STATES DISTRICT COURT
                                             NORTHERN DISTRICT OF OHIO

I.                Civil Categories: (Please check one category only ).

                  1. ✔
                  2.
                        D           General Civil
                                    Administrative Review/Social Security
                  3.
                        B           Habeas Corpus Death Penalty
        *If under Title 28, §2255, name the SENTENCING JUDGE:

                                                    CASE NUMBER:
II.    RELATED OR REFILED CASES. See LR 3.1 which provides in pertinent part: "If an action is filed or removed to this Court
        and assigned to a District Judge after which it is discontinued, dismissed or remanded to a State court, and
        subsequently refiled, it shall be assigned to the same Judge who received the initial case assignment without regardfor
        the place of holding court in which the case was refiled. Counsel or a party without counsel shall be responsible for
        bringing such cases to the attention of the Court by responding to the questions included on the Civil Cover Sheet."

         This action:
                        □
                            is RELATED to another PENDING civil case
                                                                          □    is a REFILED case
                                                                                                     □     was PREVIOUSLY REMANDED


If applicable, please indicate on page 1 in section VIII, the name of the Judge and case number.

III.    In accordance with Local Civil Rule 3.8, actions involving counties in the Eastern Division shall be filed at any of the
        divisional offices therein. Actions involving counties in the Western Division shall be filed at the Toledo office. For the
        purpose of determining the proper division, and for statistical reasons, the following information is requested.

        ANSWER ONE PARAGRAPH ONLY. ANSWER PARAGRAPHS 1 THRU 3 IN ORDER. UPON FINDING WHICH
        PARAGRAPH APPLIES TO YOUR CASE, ANSWER IT AND STOP.

        (1)      Resident defendant. If the defendant resides in a county within this district, please set forth the name of such
        county
        COUNTY:
        Corporation For the purpose of answering the above, a corporation is deemed to be a resident of that county in
                    which it has its principal place of business in that district.

        (2)   Non-Resident defendant. If no defendant is a resident of a county in this district, please set forth the county
              wherein the cause of action arose or the event complained of occurred.
        COUNTY:

        (3)   Other Cases. If no defendant is a resident of this district, or if the defendant is a corporation not having a principle
              place of business within the district, and the cause of action arose or the event complained of occurred outside
              this district, please set forth the county of the plaintiff's residence.
        COUNTY:

IV.     The Counties in the Northern District of Ohio are divided into divisions as shown below. After the county is
        determined in Section III, please check the appropriate division.

        EASTERN DIVISION

                  AKRON                      (Counties: Carroll, Holmes, Portage, Stark, Summit, Tuscarawas and Wayne)
                                             (Counties: Ashland, Ashtabula, Crawford, Cuyahoga, Geauga,
              ✔ CLEVELAND                    Lake, Lorain, Medina and Richland)
                  YOUNGSTOWN                 (Counties: Columbiana, Mahoning and Trumbull)

        WESTERN DIVISION



              □
                  TOLEDO                     (Counties: Allen, Auglaize, Defiance, Erie, Fulton, Hancock, Hardin, Henry,
                                              Huron, Lucas, Marion, Mercer, Ottawa, Paulding, Putnam, Sandusky, Seneca
                                             VanWert, Williams, Wood and Wyandot)
JS 44 Reverse (Rev. 10/20)   Case: 1:21-cv-01248-PAB Doc #: 1-1 Filed: 06/25/21 3 of 3. PageID #: 22
                     INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS 44
                                                               Authority For Civil Cover Sheet

The JS 44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and service of pleading or other papers as
required by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is
required for the use of the Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of
Court for each civil complaint filed. The attorney filing a case should complete the form as follows:

I.(a)    Plaintiffs-Defendants. Enter names (last, first, middle initial) of plaintiff and defendant. If the plaintiff or defendant is a government agency, use
         only the full name or standard abbreviations. If the plaintiff or defendant is an official within a government agency, identify first the agency and then
         the official, giving both name and title.
  (b)    County of Residence. For each civil case filed, except U.S. plaintiff cases, enter the name of the county where the first listed plaintiff resides at the
         time of filing. In U.S. plaintiff cases, enter the name of the county in which the first listed defendant resides at the time of filing. (NOTE: In land
         condemnation cases, the county of residence of the "defendant" is the location of the tract of land involved.)
  (c)    Attorneys. Enter the firm name, address, telephone number, and attorney of record. If there are several attorneys, list them on an attachment, noting
         in this section "(see attachment)".

II.      Jurisdiction. The basis of jurisdiction is set forth under Rule 8(a), F.R.Cv.P., which requires that jurisdictions be shown in pleadings. Place an "X"
         in one of the boxes. If there is more than one basis of jurisdiction, precedence is given in the order shown below.
         United States plaintiff. (1) Jurisdiction based on 28 U.S.C. 1345 and 1348. Suits by agencies and officers of the United States are included here.
         United States defendant. (2) When the plaintiff is suing the United States, its officers or agencies, place an "X" in this box.
         Federal question. (3) This refers to suits under 28 U.S.C. 1331, where jurisdiction arises under the Constitution of the United States, an amendment
         to the Constitution, an act of Congress or a treaty of the United States. In cases where the U.S. is a party, the U.S. plaintiff or defendant code takes
         precedence, and box 1 or 2 should be marked.
         Diversity of citizenship. (4) This refers to suits under 28 U.S.C. 1332, where parties are citizens of different states. When Box 4 is checked, the
         citizenship of the different parties must be checked. (See Section III below; NOTE: federal question actions take precedence over diversity
         cases.)

III.     Residence (citizenship) of Principal Parties. This section of the JS 44 is to be completed if diversity of citizenship was indicated above. Mark this
         section for each principal party.

IV.      Nature of Suit. Place an "X" in the appropriate box. If there are multiple nature of suit codes associated with the case, pick the nature of suit code
         that is most applicable. Click here for: Nature of Suit Code Descriptions.

V.       Origin. Place an "X" in one of the seven boxes.
         Original Proceedings. (1) Cases which originate in the United States district courts.
         Removed from State Court. (2) Proceedings initiated in state courts may be removed to the district courts under Title 28 U.S.C., Section 1441.
         Remanded from Appellate Court. (3) Check this box for cases remanded to the district court for further action. Use the date of remand as the filing
         date.
         Reinstated or Reopened. (4) Check this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.
         Transferred from Another District. (5) For cases transferred under Title 28 U.S.C. Section 1404(a). Do not use this for within district transfers or
         multidistrict litigation transfers.
         Multidistrict Litigation – Transfer. (6) Check this box when a multidistrict case is transferred into the district under authority of Title 28 U.S.C.
         Section 1407.
         Multidistrict Litigation – Direct File. (8) Check this box when a multidistrict case is filed in the same district as the Master MDL docket.
         PLEASE NOTE THAT THERE IS NOT AN ORIGIN CODE 7. Origin Code 7 was used for historical records and is no longer relevant due to
         changes in statue.

VI.      Cause of Action. Report the civil statute directly related to the cause of action and give a brief description of the cause. Do not cite jurisdictional
         statutes unless diversity. Example: U.S. Civil Statute: 47 USC 553 Brief Description: Unauthorized reception of cable service.

VII.     Requested in Complaint. Class Action. Place an "X" in this box if you are filing a class action under Rule 23, F.R.Cv.P.
         Demand. In this space enter the actual dollar amount being demanded or indicate other demand, such as a preliminary injunction.
         Jury Demand. Check the appropriate box to indicate whether or not a jury is being demanded.

VIII. Related Cases. This section of the JS 44 is used to reference related pending cases, if any. If there are related pending cases, insert the docket
      numbers and the corresponding judge names for such cases.

Date and Attorney Signature. Date and sign the civil cover sheet.
